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                              Exhibit B
                               Redline
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                           §
In re:                     §                                  Chapter 11
                           §
STEWARD HEALTH CARE SYSTEM §                                  Case No. 24-90213 (CML)
LLC, et al.,               §
                           §                                  (Jointly Administered)
             Debtors. 1
                           §
                           §

                       ORDER (I) AUTHORIZING
              REJECTION OF MASTER LEASE II AGREEMENTS
         EFFECTIVE AS OF THE REJECTION DATE IN CONNECTION
        WITH PLANNED TRANSITION AND SALE OF MASSACHUSETTS
    HOSPITALS TO NEW OPERATORS, AND (II) GRANTING RELATED RELIEF

                 Upon the motion, dated July 26, 2024 (the “Motion”)2 of Steward Health Care

System LLC and its debtor affiliates, as debtors and debtors in possession in the above-captioned

chapter 11 cases (collectively, the “Debtors”), for entry of an order pursuant to sections 365(a)

and 105(a) of the Bankruptcy Code and Bankruptcy Rules 6004 and 6006 (i) authorizing the

Debtors to reject the Master Lease II Agreements, effective as of the Rejection Date and

(ii) granting related relief, all as more fully set forth in the Motion; and this Court having

jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C. § 1334;

and consideration of the Motion and the requested relief being a core proceeding pursuant to 28

U.S.C. § 157(b); and it appearing that venue is proper before this Court pursuant to 28 U.S.C.

§§ 1408 and 1409; and due and proper notice of the Motion having been provided; and such

notice having been adequate and appropriate under the circumstances, and it appearing that no



1
    A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims
    and noticing agent at https://restructuring.ra.kroll.com/Steward. The Debtors’ service address for these chapter
    11 cases is 1900 N. Pearl Street, Suite 2400, Dallas, Texas 75201.
2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
    Motion.
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other or further notice need be provided; and this Court having reviewed the Motion; and upon

any hearing held on the Motion; and all objections, if any, to the relief requested in the Motion

having been withdrawn, resolved, or overruled; and upon consideration of the Castellano

Declaration, King Declaration, and Moloney Declaration; and the Court having determined that

the legal and factual bases set forth in the Motion establish just cause for the relief granted

herein; and it appearing that the relief requested in the Motion is in the best interests of the

Debtors, their respective estates, creditors, and all parties in interest; and upon all of the

proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor,

                IT IS HEREBY ORDERED THAT

                1.       Pursuant to sections 365(a) and 105(a) of the Bankruptcy Code and

Bankruptcy Rules 6004 and 6006, the Master Lease II Agreements set forth on Schedule 1

attachedis hereto are deemed rejected effective as of the effective date of the filing of the

Motionrejection (the “Rejection Date”). Following tThe Rejection Date, the Debtors shall not

be obligated to make any payments under the and whether the Master Lease II Ancillary

Agreements are rejected shall be determined by the Court following further briefing by the

parties and a hearing on a schedule to be agreed by the parties in good-faith, which such hearing

shall be no later than August 30, 2024 (unless otherwise extended with the consent of the

Debtors and ML II Lessors), subject to the Court’s availability. All parties reserve their rights

and all arguments with respect to the effective date of rejection of the Master Lease II

Agreements, including any payments pursuant to section 365(d)(3) of the Bankruptcy Code. as

they existed prior to entry of this Order, none of which are waived or affected by the entry of this

Order.3

3
    The reserved arguments include but are not limited to the arguments made in the Objection of MPT and Master
    Lease II Lessors to Emergency Motion to Reject Master Lease II; and Cross-Motion to Condition Relief on
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               2.      Nothing in this Order shall prejudice or diminish the Debtors’ or the ML II

Lessors’ rights under the Master Lease II Agreements prior to the Rejection Date.

               3.      Nothing in this Order shall prejudice or diminish the Creditors’

Committee’s rights, including its Challenge rights and the Challenge Period pursuant to the Final

DIP Orders, and all of the Creditors’ Committee’s rights and remedies are expressly preserved.

               4.      Nothing in this Order shall, to the extent any such rights or claims exist,

waive (1) any ML II Lessors’ (i) rights afforded by section 365(d)(3); (ii) right to assert a section

503(b) administrative expense claim, including for periods after the Rejection Date; (iii) right to

seek adequate protection under sections 361 and 363 of the Bankruptcy Code, including for

periods after the Rejection Date; (iv) claims or other rights arising under section 502(g) of the

Bankruptcy Code; (v) right to seek relief from the automatic stay under section 362(d) of the

Bankruptcy Code or otherwise; (vi) rights under section 554 of the Bankruptcy Code; or

(vii) rights arising out of applicable non-bankruptcy law, or (2) any defenses, rights, claims, or

counterclaims of the Debtors (or any other party in interest) with respect to the foregoing.

Nothing in this Order shall be construed to extinguish or impair any of ML II Lessor’s rights or

remedies against any sublessors of the Debtors.

               5.      Nothing in this Order or the fact of any party’s consent to this Order shall

prejudice or diminish or affect in any manner any MPT lessor’s rights with respect to Master

Lease I.

               6.      Notwithstanding anything to the contrary contained in this Order, nothing

herein affects any rights or remedies of Dana-Farber Cancer Institute (“DFCI”) relating to St.

Elizabeth’s Medical Center of Boston and Holy Family Hospital in Methuen and Haverhill, or



   Lease II Lessors to Emergency Motion to Reject Master Lease II; and Cross-Motion to Condition Relief on
   Provision of Adequate Protection (Docket No. 1760).
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arising under or pursuant to the DFCI SEMC Contracts,4 and all rights and remedies of DFCI,

the Debtors, and all parties in interest with respect to the foregoing including under and pursuant

to the DFCI SEMC Contracts are hereby reserved and not waived.

                 7.      4. Nothing contained in the Motion or this Order or any payment made

pursuant to the authority granted by this Order is intended to be or shall be deemed as (i) an

implication or admission as to the validity of any claim against the Debtors, (ii) a waiver or

limitation of the Debtors’ or any party in interest’s rights to dispute the amount of, basis for, or

validity of any claim, (iii) a waiver of the Debtors’ or any other party in interest’s rights under

the Bankruptcy Code or any other applicable nonbankruptcy law, (iv) a waiver or limitation of

the Debtors’ right to assert, at a later date, that Master Lease II is not an unexpired lease, (v) a

concession or evidence that the Master Lease II Agreements have not expired, been terminated,

or are otherwise currently not in full force and effect, (vi) a finding or determination with respect

to whether Master Lease II is an unexpired lease;, (vii) a finding or determination with respect to

whether Master Lease II (or any other lease) is a true lease, whether Master Lease II (or any other

lease) is a unitary lease, or the nature, validity, extent or priority of any claims in respect of




4
    The “DFCI SEMC Contracts” means, including without limitation, that certain: (i) Agreement of Lease dated as
    of February 12, 2014 by and between Steward St. Elizabeth’s Medical Center of Boston, Inc. (“SEMC”) and
    DFCI (ii) Master Affiliation Agreement dated as of March 7, 2014 by and among SEMC, Steward Health Care
    System LLC (“SHCS”) and DFCI, (iii) Master Leased Employees Agreement dated June 24, 2014 by and
    among SEMC, SHCS and DFCI, (iv) Amended and Restated Service-Level Master Agreement dated May 21,
    2018 by and between SEMC and DFCI, (v) Specialty Services Agreement dated as of May 14, 2014 by and
    between Steward Health Care Network, Inc. and DFCI, (vi) Leased Employees agreement dated April 11, 2016
    by and between SEMC and DFCI, (vii) Master Affiliation Agreement between SEMC and DFCI dated as of
    July 1, 2014, (viii) Inpatient Transfer Agreement dated April 18, 2014 by and between SEMC and DFCI, (ix)
    Inpatient Professional Services Agreement dated August 10, 2018 by and between SEMC, DFCI and
    Dana-Farber Community Cancer Network, Inc., (x) Information Services Support Master Agreement dated May
    21, 2018 by and between SHCS and DFCI, (xi) Clinical Coordination and Communication Agreement dated as
    of May 21, 2018 by and between SEMC and DFCI, (xii) Data Security Testing Agreement dated as of March
    17, 2014 by and between SEMC and DFCI, (xiii) Clinical Laboratory Test Agreement dated as of May 18, 2014
    by and between SEMC and DFCI, and (xiv) Professional Services Agreement dated as of July 1, 2014 by and
    between Steward Medical Group, Inc. and DFCI (each as may be extended and amended from time to time,
    collectively, the “DFCI SEMC Contracts”).
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Master Lease II (or any other lease), (viii) a waiver of the obligation of any party in interest to

file a proof of claim, (viiiix) an agreement or obligation to pay any claims, (ixx) a waiver of any

claims or causes of action which may exist against any creditor or interest holder, (xxi) an

admission as to the validity of any liens satisfied pursuant to the Motion, (xii) an approval,

assumption, adoption, or rejection of any agreement, contract, lease, program, or policy under

section 365 of the Bankruptcy Code, other than as set forth herein, (xiii) a waiver of any claims

of the Debtors against the MPT-Macquarie JV or any other contract counterparties, (xiiixiv) a

waiver of any of the Creditors’ Committee’s Challenge rights, as set forth in the Final DIP

Orders, or any remedies with respect thereto, or (xivxv) a waiver of any rights in respect of

allocation of value.

                8.      5. Notice of the Motion is adequate under Bankruptcy Rule 6004(a) and

the Bankruptcy Local Rules.

                9.      6. Notwithstanding the provisions of Bankruptcy Rule 6004(h), this Order

shall be immediately effective and enforceable upon its entry.

                10.     7. The Debtors are authorized to take all actions necessary or appropriate

to carry out the relief granted in this Order.

                11.     8. This Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation, or enforcement of this Order.


Dated: ____________, 2024
       Houston, Texas

                                                 Christopher Lopez
                                                 United States Bankruptcy Judge
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                                                          Schedule 1

                                         Master Lease II Ancillary Agreements

                                         C
                                                              D
                       ontract                                                Contract Description1
       o.                                         ebtor
                     Counterparty
                         Second Amended and Restated Assignment of Rents and Leases
       1.          MPT of                           S Second Amended and Restated Assignment of Rents
                   Methuen-Steward, teward Carney     and Leases, dated as of March 14, 2022, by and
                   LLC, et al.1     Hospital, Inc.    among Assignor and Assignee, pursuant to which the
                                                      original assignment of rents and leases was amended
                                                      and restated to secure payment and performance of
                                                      the Obligations.
       2.                         M                 S Second Amended and Restated Assignment of Rents
                   PT of            teward Good       and Leases, dated as of March 14, 2022, by and
                   Methuen-Steward, Samaritan         among Assignor and Assignee, pursuant to which the
                   LLC, et al.      Medical Center,   original assignment of rents and leases was amended
                                    Inc.              and restated to secure payment and performance of
                                                      the Obligations.
       3.                         M                 S Second Amended and Restated Assignment of Rents
                   PT of            teward Holy       and Leases, dated as of March 14, 2022, by and
                   Methuen-Steward, Family Hospital, among Assignor and Assignee, pursuant to which the
                   LLC, et al.      Inc.              original assignment of rents and leases was amended
                                                      and restated to secure payment and performance of
                                                      the Obligations.

       4.                                M                   S Second Amended and Restated Assignment of Rents
                   PT of                     teward Holy       and Leases, dated as of March 14, 2022, by and
                   Methuen-Steward,          Family Hospital, among Assignor and Assignee, pursuant to which the
                   LLC, et al.               Inc.              original assignment of rents and leases was amended
                                                               and restated to secure payment and performance of
                                                               the Obligations.

       5.                                M                    M Second Amended and Restated Assignment of Rents
                   PT of                     orton Hospital, A and Leases, dated as of March 14, 2022, by and
                   Methuen-Steward,          Steward Family     among Assignor and Assignee, pursuant to which the
                   LLC, et al.               Hospital, Inc.     original assignment of rents and leases was amended
                                                                and restated to secure payment and performance of
                                                                the Obligations.

       6.                         M                 S                  Second Amended and Restated
                   PT of            teward St.        Assignment of Rents and Leases, dated as of March
                   Methuen-Steward, Anne’s Hospital   14, 2022, by and among Assignor and Assignee,
                   LLC, et al.      Corporation       pursuant to which the original assignment of rents and
                                                      leases was amended and restated to secure payment
                                                      and performance of the Obligations.



1
     Capitalized terms used but otherwise not defined herein shall have the meanings ascribed to such terms in the
     applicable agreement.
1
     The contract counterparties for the Master Lease II Ancillary Agreements numbered 1 through 9 include: MPT
     of Methuen-Steward, LLC, MPT of Brighton-Steward, LLC, MPT of Fall River-Steward, LLC, MPT of
     Brockton-Steward, LLC, MPT of Taunton-Steward, LLC, MPT of Ayer-Steward, LLC, MPT of
     Haverhill-Steward, LLC, and MPT of Dorchester-Steward, LLC.




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                                         C
                                                       D
                       ontract                                            Contract Description1
       o.                                    ebtor
                     Counterparty
       7.                         M                 S                  Second Amended and Restated
                   PT of            teward St.        Assignment of Rents and Leases, dated as of March
                   Methuen-Steward, Anne’s Hospital   14, 2022, by and among Assignor and Assignee,
                   LLC, et al.      Corporation       pursuant to which the original assignment of rents and
                                                      leases was amended and restated to secure payment
                                                      and performance of the Obligations.
       8.                         M                    S                    Second Amended and Restated
                   PT of            teward St.             Assignment of Rents and Leases, dated as of March
                   Methuen-Steward, Elizabeth’s            14, 2022, by and among Assignor and Assignee,
                   LLC, et al.      Medical Center         pursuant to which the original assignment of rents and
                                    of Boston, Inc.        leases was amended and restated to secure payment
                                                           and performance of the Obligations.
       9.                         M                 N                  Second Amended and Restated
                   PT of            ashoba Valley     Assignment of Rents and Leases, dated as of March
                   Methuen-Steward, Medical Center,   14, 2022, by and among Assignor and Assignee,
                   LLC, et al.      A Steward         pursuant to which the original assignment of rents and
                                    Family Hospital, leases was amended and restated to secure payment
                                    Inc.              and performance of the Obligations.
                                             Memorandum of Master Lease Agreement
      10.                         M Steward St.                                Memorandum of Master Lease
                   PT of            Elizabeth’s            Agreement (Carney Hospital), dated as of March 14,
                   Methuen-Steward, Medical Center         2022, by and among Lessor and Lessee, pursuant to
                   LLC, et al.      of Boston, Inc.,       which the parties provided record notice to all third
                                    et al.1                parties of their rights under the Lease.
      11.                         M                    S                     Memorandum of Master Lease
                   PT of            teward St.             Agreement (Good Samaritan Medical Center), dated
                   Methuen-Steward, Elizabeth’s            as of March 14, 2022, by and among Lessor and
                   LLC, et al.      Medical Center         Lessee, pursuant to which the parties provided record
                                    of Boston, Inc.,       notice to all third parties of their rights under the
                                    et al.                 Lease.
      12.                         M                    S                        Memorandum of Master Lease
                   PT of            teward St.             Agreement (Holy Family Hospital-Methuen), dated as
                   Methuen-Steward, Elizabeth’s            of March 14, 2022, by and among Lessor and Lessee,
                   LLC, et al.      Medical Center         pursuant to which the parties provided record notice
                                    of Boston, Inc.,       to all third parties of their rights under the Lease.
                                    et al.
      13.                                M             S                     Memorandum of Master Lease




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     The Debtors party to the Master Lease II Ancillary Agreements numbered 10 through 18 include: Steward St.
     Elizabeth’s Medical Center of Boston, Inc., Steward Good Samaritan Medical Center, Inc., Steward Holy
     Family Hospital, Inc., Steward St. Anne’s Hospital Corporation, Morton Hospital, a Steward Family Hospital,
     Inc., Nashoba Valley Medical Center, a Steward Family Hospital, Inc., and Steward Carney Hospital, Inc.




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                       ontract                                                      Contract Description1
       o.                                          ebtor
                     Counterparty
                   PT of                     teward St.             Agreement (Holy Family Hospital-Haverhill), dated
                   Methuen-Steward,          Elizabeth’s            as of March 14, 2022, by and among Lessor and
                   LLC, et al.               Medical Center         Lessee, pursuant to which the parties provided record
                                             of Boston, Inc.,       notice to all third parties of their rights under the
                                             et al.                 Lease.
      14.                         M                             S                       Memorandum of Master Lease
                   PT of            teward St.                      Agreement (Morton Hospital), dated as of March 14,
                   Methuen-Steward, Elizabeth’s                     2022, by and among Lessor and Lessee, pursuant to
                   LLC, et al.      Medical Center                  which the parties provided record notice to all third
                                    of Boston, Inc.,                parties of their rights under the Lease.
                                    et al.
      15.                         M                             S                     Memorandum of Master Lease
                   PT of            teward St.                      Agreement (Nashoba Valley Medical Center), dated
                   Methuen-Steward, Elizabeth’s                     as of March 14, 2022, by and among Lessor and
                   LLC, et al.      Medical Center                  Lessee, pursuant to which the parties provided record
                                    of Boston, Inc.,                notice to all third parties of their rights under the
                                    et al.                          Lease.
      16.                         M                             S                        Memorandum of Master Lease
                   PT of            teward St.                      Agreement (St. Anne’s Parking Lot), dated as of
                   Methuen-Steward, Elizabeth’s                     March 14, 2022, by and among Lessor and Lessee,
                   LLC, et al.      Medical Center                  pursuant to which the parties provided record notice
                                    of Boston, Inc.,                to all third parties of their rights under the Lease.
                                    et al.
      17.                         M                             S                       Memorandum of Master Lease
                   PT of            teward St.                      Agreement (St. Anne’s Hospital), dated as of March
                   Methuen-Steward, Elizabeth’s                     14, 2022, by and among Lessor and Lessee, pursuant
                   LLC, et al.      Medical Center                  to which the parties provided record notice to all third
                                    of Boston, Inc.,                parties of their rights under the Lease.
                                    et al.
      18.                         M                             S                        Memorandum of Master Lease
                   PT of            teward St.                      Agreement (St. Elizabeth’s Medical Center), dated as
                   Methuen-Steward, Elizabeth’s                     of March 14, 2022, by and among Lessor and Lessee,
                   LLC, et al.      Medical Center                  pursuant to which the parties provided record notice
                                    of Boston, Inc.,                to all third parties of their rights under the Lease.
                                    et al.
                                                                      Guaranty
      19.                         M                             S                     Guaranty, dated as of March 14,
                   PT of            teward Health                   2022, by and among Steward Health Care System
                   Methuen-Steward, Care System                     LLC, for the benefit of the MPT Parties, pursuant to
                   LLC, et al.      LLC                             which Steward Health Care System LLC guarantees
                                                                    all of the obligations of each lessee under Master
                                                                    Lease II.
                                                  Environmental Indemnification Agreement
      20.          MPT of                                                             Environmental        Indemnification
                   Brighton-Steward,
                   LLC, et al.1

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     MPT of Brighton-Steward, LLC, MPT of Brockton-Steward, LLC, MPT of Fall River-Steward, LLC, MPT of
     Methuen-Steward, LLC, MPT of Taunton-Steward, LLC, MPT of Ayer-Steward, LLC, MPT of



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                       ontract                                                   Contract Description1
       o.                                         ebtor
                     Counterparty
                                                              S Agreement, dated as of March 14, 2022, by and
                                             teward Health      among Steward Health Care System LLC and the
                                             Care System        MPT Parties, pursuant to which Steward Health Care
                                             LLC                System LLC indemnifies the MPT Indemnified
                                                                Parties from MPT Damages.
                                                          Non-Competition Agreement
      21.          MPT Operating                              S                      Non-Competition Agreement, dated
                   Partnership, L.P.,        teward Health        as of March 14, 2024, by and among Steward Health
                   et al.1                   Care System          Care System LLC, MPT Operating Partnership, L.P.,
                                             LLC                  and each Lessor, pursuant to which Steward Health
                                                                  Care System LLC agrees that while Master Lease II
                                                                  remains in effect and if Master Lease II is terminated,
                                                                  then for a period of three (3) years following such
                                                                  termination, neither Steward Health Care System LLC
                                                                  nor its Subsidiaries shall directly or indirectly,
                                                                  acquire, finance, guarantee obligations, own, lease,
                                                                  manage, develop or provide services in connection
                                                                  with the acquisition, ownership, operation or
                                                                  development of any real estate located within a ten
                                                                  (10) mile radius of the Property, which real estate is
                                                                  used in a Competing Business.
                                        Subordination, Non-Disturbance, and Attornment Agreement
      22.                        A Steward Tenants1                                Subordination, Non-Disturbance
                   CREFI CS U, LLC                                and Attornment Agreement (Master Lease II), dated
                                                                  as of March 14, 2022, by and among Lender and
                                                                  Tenant, pursuant to which Master Lease II and all
                                                                  terms and conditions related thereto are subject and




     Methuen-Steward, LLC, MPT of Taunton-Steward, LLC, MPT of Ayer-Steward, LLC, MPT of
     Haverhill-Steward, LLC, and MPT of Dorchester-Steward, LLC.
1
     MPT Operating Partnership, L.P., MPT of Brighton-Steward, LLC, MPT of Brockton-Steward, LLC, MPT of
     Fall River-Steward, LLC, MPT of Methuen-Steward, LLC, MPT of Taunton-Steward, LLC, MPT of
     Ayer-Steward, LLC, MPT of Haverhill-Steward, LLC, and MPT of Dorchester-Steward, LLC.
1
     Steward St. Elizabeth’s Medical Center of Boston, Inc., Steward Good Samaritan Medical Center, Inc., Steward
     Holy Family Hospital, Inc., Steward St. Anne’s Hospital Corporation, Morton Hospital, A Steward Family
     Hospital, Inc., Nashoba Valley Medical Center, A Steward Family Hospital, Inc., and Steward Carney Hospital,
     Inc.




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                       ontract                                                       Contract Description1
       o.                                         ebtor
                     Counterparty
                                                                    subordinated to the Mortgage and the lien of the
                                                                    Mortgage.
                                             Second Amended and Restated Security Agreement
      23.                                M                      S                      Second Amended and Restated
                   PT of West                teward Health          Security Agreement, dated as of January 2, 2024, by
                   Jordan-Steward,           Care System            and among Steward Health, the Lessees, and the
                   LLC, MPT of               LLC, the Master        Obligors, and the Secured Parties, pursuant to which
                   Layton-Steward,           Lease I Lessees,       Steward Health, the Lessees, and the Obligors granted
                   LLC, MPT TRS              the Master Lease       security interests in accordance with (i) the Secured
                   Lender Steward,           II Lessees, and        Parties agreeing to enter into the Forbearance
                   LLC, and MPT              the Obligors           Agreement and consummating the relevant
                   Sycamore Opco,                                   transactions, including advancing the loan under the
                   LLC                                              Stewardship Note, (ii) the Limited Lien Subordination
                                                                    of the Secured Parties related to the proceeds of the
                                                                    Lab Asset Sale, and (iii) the allowance of the Obligors
                                                                    to defer certain payments and other transactions.
                                              Second Amended and Restated Pledge Agreement
      24.                                M Pledgors and                                 Second Amended and Restated
                   PT of West              Pledged                  Pledge Agreement, dated as of January 2, 2024, by
                   Jordan-Steward,         Obligors1                and among the Pledgors and Pledgees, pursuant to
                   LLC, MPT of                                      which the Pledgors, Pledged Obligors, and Pledgees
                   Layton-Steward,                                  amended and restated the Original Amended and
                   LLC, MPT TRS                                     Restated Pledge Agreement in its entirety and the
                   Lender Steward,                                  Pledgors pledged, hypothecated, assigned, granted,
                   LLC, and MPT                                     transferred, or set over a first priority security interest
                   Sycamore Opco,                                   and lien upon the Pledged Interests and all proceeds
                   LLC                                              thereof, including cash, securities, and other property.




1
     Pledgors and Pledge Obligors are listed on Exhibit A to the agreement.




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